                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE


 ENVY 27, LLC d/b/a MOTEL 6,                 )
                                             )
                    Plaintiff,               )
                                             )       Case No.: 3:12-cv-00429
 v.                                          )       JURY DEMAND
                                             )
 AMERICAN AUTOMOBILE                         )       Chief US. District Judge
 INSURANCE COMPANY,                          )       Thomas A. Varlan
                                             )       Magistrate Judge C. Clifford Shirley
                                             )
                    Defendant.               )


                STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE


          Pursuant to Fed. R. Civ. P. 41(a)(1), the parties to this action hereby stipulate that

 the Plaintiff's action against American Automobile Insurance Company is voluntarily

 DISMISSED WITH PREJUDICE. Each party shall bear its own attorneys fees, court

 costs, and discretionary costs.

                                             Respectfully submitted,



                                             _s/ J. Brandon McWherter_____________
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                                             /s E. Jason Ferrell
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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 6th day of January, 2014, a copy of the foregoing
 Stipulation of Voluntary Dismissal With Prejudice was filed electronically. Notice of this
 filing will be sent by operation of the Court’s electronic filing system to all parties
 indicated on the electronic filing receipt. All other parties will be served by regular U.S.
 mail. Parties may access this filing through the Court’s electronic filing system. The
 parties to be served are as follows:

 J. Brandon McWherter
 Clinton H. Scott
 Gilbert Russell McWherter PLC
 101 North Highland
 731-664-1340



                                             /s E. Jason Ferrell
                                           E. JASON FERRELL




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